           Case 1:14-cr-00154-JLT-SKO Document 114 Filed 03/30/15 Page 1 of 1

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 7

 8                              IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

10
     UNITED STATES OF AMERICA,                        CASE NO. 1:14-CR-00154 LJO SKO
11
                                Plaintiff,            ORDER ON GOVERNMENT’S MOTION TO
12                                                    RETURN JESUS MENDOZA (USMS#/BOP#
                           v.                         19514-097) TO BOP CUSTODY
13
     JESUS MENDOZA,
14
                                Defendant.
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            IT IS HEREBY ORDERED that Jesus Mendoza (USMS #/BOP# 19514-097), who is currently
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     in USMS custody, be returned to the custody of the Bureau of Prisons. The time Jesus Mendoza (USMS
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     #/BOP# 19514-097) spent in USMS custody should be attributed to the sentence he was serving and not
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     to any new charges.
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21 IT IS SO ORDERED.

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        Dated:    March 27, 2015                             /s/ Sheila K. Oberto
23                                                  UNITED STATES MAGISTRATE JUDGE

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